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                                                  U.S. Department of Justice

                                                            United States Attorney
                                                            Southern District of New York

                                                            The Silvio J. Mollo Building
                                                            One Saint Andrew’s Plaza
                                                            New York, New York 10007


                                                            January 11, 2021

        By ECF

        The Honorable Loretta A. Preska
        United States District Judge
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                       Re:    United States v. Mamuka Chaganava, 17 Cr. 350 (LAP)

        Dear Judge Preska:

                In advance of the dates previously set for the submission of sentencing memoranda by the
        parties in connection with the sentencing of defendant Mamuka Chaganava, the parties have
        engaged in discussions regarding the facts set forth in the Presentence Report in an attempt to
        obviate the need for a Fatico hearing in this matter, or to narrow the scope of any such hearing.
        Following a substantive discussion today, the parties respectfully request that the current filing
        deadlines be adjourned and that the parties be required to provide the Court with a status update
        regarding the potential need for a Fatico hearing, and regarding a proposed schedule for the
        filing of sentencing memoranda, on or about February 11, 2021. This time will permit defense
        counsel with the opportunity to confer with Mr. Chaganava regarding the parties’ discussions. I
        have conferred with Paul Petrus, Esq., counsel for Mr. Chaganava, who concurs in the request.


                                                            Respectfully submitted,

The parties' request for an adjournment                     AUDREY STRAUSS
of the sentencing memoranda filing                          Acting United States Attorney
deadline is granted. The parties
shall provide the Court by letter, not
later than February 11, 2021, a status
update regarding the potential need                      by: _/s/ Andrew C. Adams_________________
for a Fatico hearing and a proposed                          Andrew C. Adams
schedule for the filing of sentencing                        Assistant United States Attorney
memoranda. SO ORDERED.                                       (212) 637-2340



                                1/11/2021
